               Case
Walter O'Cheskey       04-10605-rlj13 Doc 49 Filed 11/30/09        Entered 11/30/09 10:56:13          Page 1 of 1
Chapter 13 Trustee
6308 Iola Avenue
Lubbock TX 79424
(806) 748-1980 Phone
(806) 748-1956 Fax
                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                ABILENE DIVISION
IN RE:
JESSIE BERNAL JR                                                                    CASE NO.:        04-10605-RLJ-13
SHELLEY DIANE BERNAL                                                                DATED:           November 30, 2009
DEBTOR(S)

                                        NOTICE TO DEPOSIT UNCLAIMED FUNDS

Transmitted herewith is a check for deposit into the court’s unclaimed funds registry as unclaimed property for the above
reference chapter 13 case. I hereby certify that a period of ninety days has elapsed since the issuance of these funds and the
disbursement check(s) has not been negotiated.

Disposition of Case:             Paid
Explanation of Sources:          Check stale dated.
Disbursement Amount:             $12,993.93
Name of Payee on Check:
  JAN FRENCH 7136 BENNINGTON DRIVE            DALLAS TX 75214

/s/ Walter O'Cheskey
Walter O'Cheskey, Chapter 13 Trustee
6308 Iola Avenue
Lubbock TX 79424
                                                   Certificate of Service
I hereby certify that a true copy of the foregoing NOTICE TO DEPOSIT UNCLAIMED FUNDS was mailed to the
following parties on November 30, 2009.
WILLIAM T NEARY UNITED STATES TRUSTEE 1100 COMMERCE STREET RM 976 DALLAS TX 75242
MONTE J WHITE & ASSOCIATES PC ATTORNEY AT LAW ABILENE 402 CYPRESS SUITE 310 ABILENE TX 79601

/s/ Walter O'Cheskey
Walter O'Cheskey, Chapter 13 Trustee
6308 Iola Avenue
Lubbock TX 79424
